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AMERICAN ARBITRATION ASSOCIATION

COMMERCIAL DIVISION
X Case No: 01-19-0004-6511

 

STRAIGHT A COMPANY, LP,
Claimant,
-against-
LA APPAREL, INC.,

Respondent.

 

 

CLAIMANT STRAIGHT A COMPANY, LP’S POST-HEARING MEMORANDUM OF LAW

 

Respectfully Submitted,
WARSHAW BURSTEIN, LLP
Attorneys for Claimant

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With respect to 2019, LA Apparel, through both Mr. Wattenberg and LA Apparel’s
attorney, Stuart Serota, Esq., also improperly objected to Concorde’s 2019 internal financial
statements which were presented to Mr. Wattenberg on June 28, 2020 (Exhibit C-4) and
“instructed” Eric Davis of Ginader Jones & Co., LLP, Concorde’s independent accountants, not to
issue the 2019 Concorde Review Report, which was otherwise ready. See Exhibits C-5, C-23, C-
24, C-25. See also, Tr., at pp. 90:4-9. Based on receipt of the letter Attorney Serota sent on behalf
of Respondent, Ginader Jones has not issued its Review Report with respect to Concorde’s 2019
financial statements pending the outcome of this arbitration.? Again, by obstructing the process
proscribed in Section 9.04, and refusing to authorize distributions as set forth above, Respondent
has breached the Operating Agreement and the implied covenant of good faith and fair dealing.
Cc. Claimant Has Been Damaged by Respondent’s Breach of the Operating Agreement

By unilaterally preventing Concorde from distributing end-of-year gross operating profit
to Straight A, Straight A has been damaged, in the first instance, in the amount it would have
otherwise received: $393,988.38 for the fiscal year 2018, and $351,145.14 for the 2019 fiscal
year.

Eric Davis testified that Ginader calculated Concorde’s 2018 fiscal year distributions based
upon a review of Concorde’s financial records and the Operating Agreement. See Tr., at pp. 263-
64:16-17, referring to Exhibit C-6. Mr. Davis’ calculations are annexed as part of Ex. C-6,

specifically the last 2 pages, which pages follow the first attachment (draft financial statements).

 

> Of course, Claimant Straight A initiated this arbitration on December 31, 2019, among other
things, seeking an Order directing Respondent to authorize distributions of Concorde’s gross
operating profits as same are determined in accordance with Section 9.03 of the Operating
Agreement for fiscal years 2018, 2019, and all future fiscal years.

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For Your convenience, Mr. Davis’ 2018 calculations are reproduced in substance herein:

 

 

Calculation of Front End Bonus
Additional Back End Bonus

 

 

 

Per Agreement

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NET SALES 16,442,602.99
Cost of Goods Sold 12,455,061.03
GROSS PROFIT A 3,987,541.96
Royalties . 416,866.14
Corporate "Shared" Expenses 321,246.00
Total Expenses B 738,112.14
Distributions Before Profit Reserve & Comm. A-B 3,249,429.82
Allocations:
9.03 (i) Profit Reserve (5% of Net Sales) 822,130.15
9.03 (ii) {To Straight A/Astro (6% of Net Sales) Cc 986,556.18
9.03 (iii) [To LA/Belissimo ($546,000) D 546,000.00
9.03 (iv) |To Straight A/Astro (2% of Net Sales) Cc 328,852.06
9.03(v) _|To Straight A/Astro (10% of Balance) Cc 56,589.14
9.03(v) [To LA/Belissimo (90% of Balance) D 509,302.29
3,249,429.82
To Straight A/Astro before Profit Reserve Sigma C 1,371,997.38
Paid to Date (978,009.00)
Additional Back End Management Income 393,988.38
To LA Apparel/Belissimo before Profit Reserve Sigma D 1,055,302.29
Paid to Date (841,662.32)
Additional Front End Management Income 213,639.97

 

As shown in Exhibit C-6 and as Mr. Davis testified, Respondent’s improper failure and
refusal to authorize the distribution of Concorde’s profits for the 2018 fiscal year has damaged
Claimant in the amount of $393,988.38.

Mr. Alperin testified that Straight A was entitled to approximately $351,000 in

distributions for fiscal year 2019, exclusive of Straight A’s uncontested profit reserve. See Tr., at

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p. 453:18-22. Exhibit C-4 sets forth the calculation of Claimant’s damages with respect to fiscal

year 2019, reproduced in substance herein, and compared to Eric Davis’ 2018 calculations:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CONCORDE APPAREL COMPANY LLC
12/31/19
Calculation of Front End Bonus
Additional Back End Bonus
Per Operating Agreement
2019 2018
NET SALES 17,201,791.00 16,442,602.99
Cost of Goods Sold 13,319,496.00 12,455,061.03
GROSS PROFIT A 3,882,295.00 3,987 ,541.96
Royalties 625,863.00 416,866.14
Sales Commissions 19,000.81 -
Corporate "Shared" Expenses 403,106.00 321,246.00
Total Expenses (Excluding FE Commissions) B 1,047,970.00 738,112.14
Distributions Before Profit Reserve & Comm. A-B 2,853,326.00 3,249,429.82
Allocations:
9.03 (i) Profit Reserve (5% of Net Sales) 860,089.55 822,130.15
9.03 (ii) To Straight A/Astro (6% of Net Sales) c 1,032,107.46 986,556.18
9.03 (iii) | To LA/Belissimo ($546,000) D 546,000.00 546,000.00
9.03 (iv) |To Straight A/Astro (2% of Net Sales) Cc 344,035.82 328,852.06
9.03 (v) | To Straight A/Astro (10% of Balance) Cc 7,109.32 56,589.14
9.03 (v) | To LA/Belissimo (90% of Balance) D 63,983.85 509,302.29
2,853,326.00 3,249,429.82
To Straight A/Astro before Profit Reserve Sigma C 1,383,252.60 1,371,997.38
Paid to Datel (1,032,107.46) (978,009.00)
Additional Back End Management Income 351,145.14 393,988.38
To LA Apparel/Belissimo before Profit Reserve Sigma D 609,983.85 1,055,302.29
Paid to Date| (863,589.00) (841,662.32)
Additional Front End Management Income (253,605.12) 213,639.97

 

 

 

 

 

 

 

 

 

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Thus, calculating Concorde’s fiscal year 2019 distributions by following the same method
utilized by Eric Davis when he calculated Concorde’s 2018 distributions, Claimant has been
damaged in the amount of $351,145.14.

Mr. Alperin testified that Eric Davis may have slightly adjusted Concorde’s fiscal year
2019 financial records after the June 28, 2020 transmission of Exhibit C-4, however, any such
adjustment was within ten thousand dollars ($10,000.00) of the $351,145.14 due and owing to
Straight A for the 2019 fiscal year. See Tr., at pp. 443-44:20-15.

As such, based on Respondent’s material breach of the Operating Agreement, Claimant
has been damaged in the amounts of $393,988.38 for the 2018 fiscal year, and in the amount of
$351,145.14 for the 2019 fiscal year.

In addition, Claimant’s Statement of Claim respectfully requests pre-award interest on the
fiscal year 2018 delayed distribution from April 1, 2019, which totals an additional $53,932.58
through December 7, 2020, plus $87.55 per day thereafter, on top of the $393,988.38 due and
owing to Straight A for the 2018 fiscal year* and the costs of this arbitration, which costs are not

yet final but as of the last AAA statement issued on December 2, 2020, were $35,635.00.

 

* Delaware Prejudgment Interest is the federal discount interest rate as of the time from when
interest is due, plus 5%. Smith v. Nu-West Indus. 2001 Del Ch. LEXIS 8 at * 1-2 (Del. Ch. Jan.
12, 2001) citing 6 Del. C. Section 2301(a). The Federal Discount Interest Rate on April 1, 2019
was 3.0%.

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